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 AO 91(Rev. 1U11) Crimiaa! Qemplaint                                      AUSA Ka]ia Coleman 312-353-3540
                                                                          AUSA Elizabeth Pozolo 3 12-469-6 131
                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DMISION

 UNITED STATES OF AMERICA
                                                     CASE NUMBER:
                                                                              WI LE I)
                       v.
                                                                                       illAY   - e 2018
 CHRISTOPHER I{ENDERSON,                             I]NDER SEAL                THOMAS G. BRUTON
 JOHN L. PHILLIPS (a/k/a'UoJo"), and                                          CLERK, U.S. DISTRICT COURT
 JAIQAIL WRIGHT (alWa "Jaigail Wright")

                                        CRTMTNAL   coMpr,Arrvr MAqSmATE                JUDGE     VAtDrz


       I, the complainant in this case, state that the following   tl^$tgR* ,r?r,fi-*-"
and belief.
Count One
       From in or around September 2016 to August 2017, at Chicago, in the Northern District of
Illinois, Eastern Division, and elsewhere, the defendants violated:
     Code Section                                  Offense Description.
     Title 18, United States Code, CHRISTOPIIER HENDERSON, JOHN L.
     Sections 922(a)(L)(A) and 2   PHILLPS (a/k/a "JoJo"), and JAIQAIL WRIGHT
                                                   (alHa 'Jaigail Wright"), defendants herein,
                                                   willfully engaged in the business of dealing in
                                                   fi.rearrns without being licensed firearms dealers,
                                                   in violation of 18 U.S.C. $$ 922(a)(1XA) and2.
Count T\nro
    On or about August 24,2017 , at Chicago, in the Northern District of Illinois, Eastern Division,
the defendant violated:
     Code Section                                  Offense Description
     fitle    18, United States Code,   Section   JOHN L. PHILLPS (a/k/a "JoJo"), defendant
     922(dO)                                      herein, previously having been convicted of a
                                                  crime punishable by a term of imprisonment
                                                  exceeding one year, did knowingly possess, in and
                                                  affecting interstate commerce, a firearm, namely,
                                                  a Glock model 22, .40 caliber pistol, bearing serial
                                                  number E.E,Z363, and a Glock model 26, 9mm
                                                  pistol, bearing serial number UCY868, which
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                                                fireann had traveled in interstate commerce prior
                                                to  defendant's possession of the firearm, in
                                                violation of 18 U.S.C. $ 922(g)(1).


    This criminal complaint is based upon these facts:
     X   Continued on the attached sheet.


                                                                Officer, Bureau of Alcohol, Tobacco,
                                                     Firearms & Explosives (ATF)

Sworn to before me and signed in my presence.

Date: May 9. 2018


City and state: Chicago. Illinois                MARIAVALDEZ, United States Magistrate Judge
                                                          Printed nanrle and Title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                      AFFIDAVIT

       I, JASON VACtry, being duly sworn, state as follows:

       1.    I am a Task Force Offi.cerwith the Bureau ofAlcohol, Tobacco, Firearms,

and Explosives.   I   have been so employed since approximately 2007. My current

responsibilities include the investigation of criminal violations relating to the federal

firearms laws, including Title 18, United States Code, Section 922.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that CHRISTOPHER HENDERSON, JOHN L. PHILLPS (aMa "JoJo"), and
JAIQAIL WRIGHT (alWa "Jagail Wright") have violated fitle 18, United States Code,

Section g22(a)(l)(A), and that PHILLPS has violated Title L8, United States Code,

Section 922(9Q). Because this affidavit is being submitted for the limited purpose of

establishing probable cause         in support of a criminal complaint charging
HENDERSON, PHILLIPS, and WRIGHT with engaging in the business of dealing in

firearms without being licensed firearms dealers,        in violation of 18 U.S.C. $
922(a)(L)(A), and charging   PHILLPS with unlawfuI       possession of a firearm    by a

felon, in violation of L8 U.S.C. $ 922(gX1), I have not included each fact known to me

concerning this investigation.   I   have set forth only the facts that   I   believe are

necessarJr to establish probable cause to believe   that the defendants committed the

offense alleged in the complaint.
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       3.    This affidavit is based on my personal knowledge, and on information    I
have received from other law enforcement personnel and from persons with

knowledge regarding relevant facts.

                    FACTS SI]PPORTING PROBABLE CAUSE

        INTRODUCTION AND BACKGROI.IND OF THE INVESTIGATION

      4.     Since in or around May 2017 ,ATF has been investigating the illegal flow

of firearms from Kentucky into Chicago, Illinois. Specifically, between in or around

September 2016 and in or around August 2OL7 , CHRISTOPHER HENDERSON and

JOHN L. PHILLIPS (a/k/a "JoJol') purchased fi.rearms from various private sellers in

Kentucky and trafficked the firearms back from Kentucky to Chicago, Illinois. Once

back in Chicago, PHILLIPS and HENDERSON resold, transferred, and./or delivered

the firearms, often on Facebook and ofben with the assistance of JAIQAIL WRIGHT

(aJWa "Jaigail   Wright"). Several of these firearms were subsequently recovered by
law enforcement during crimes committed in the Chicago area, sometimes mere

weeks after PHILLPS and,/or HENDERSON purchased them in Kentucky.

      5.     As explained in further detail below, PHILLPS and HENDERSON

purchased firearms from persons they met        via a website called Armslist.com.
Armslist.com is a website dedicated to the sale and./or trade of firearms and firearm-

related items, such as magazines, ammunition and gun parts between private

parties. A person interested in selling a firearm can post an advertisement about the

firearm on the Armslist website. An interested buyer can then click on a box titled

"Contact Seller' and communicate with the seller. Using different email addresses




                                          2
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and different names, PHILLIPS and HENDERSON contacted sellers in Kentuckyvia

Armslist, and other means, to arrange to purchase specific firearms.

       6.      PHILLPS and HENDERSON then met the sellers in Kentucky,                      ofben

driving PHILLPS'vehicle             2lL6white Dodge Challenger, bearing Illinois license
                               -a
plate number 2249675:. (hereinafber, "Phillips Vehicle 1"). PHILLPS                           and

HENDERSON purchased the firearms and then transported the firearms back to

Chicago in order to resell, transfer, and./or deliver the firearms to individuals in the

Chicago area.

       7.       JAIQAIL WRIGHT often assisted PHILLPS and HENDERSON with

reselling the firearms to buyers in the Chicago area. In particular, WRIGHT, who

acted as a broker, worked with HENDERSON an-d PHILLIPS, through the use of

Facebook and other means, to advertise and broker the illegal sale of firearms to

various Chicago residents. According to ATF records, HENDERSON, PHILLPS and

WRIGHT do not hold a Federal Firearm License ("FFL").

       8.      After the firearms were resold to the buyers in the Chicago area, many

were recovered by the Chicago Police Department ("CPD") and other law enforcement

agencies. The time to crime for the firearms discussed in this Affidavit varies. For

example, at least one firearm was recovered           in Chicago approximately three days


1 According to Illinois Secretary of State vehicle registration records, up until on or about
January 21, 20L8, PHILLPS was the owner of Phillips Vehicle 1. Specifically, the records
show that Phillips Vehicle 1 was registered to PHILLIPS at 610 North Wolf Road, Apartment
4, Hillside, Illinois 60162 ("the Hillside Residence"). According to vehicle registration records,
as of on or about January 27, 20L8, Phillips Vehicle 1 appears to be owned by someone
unrelated to this investigation.
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after it was purchased in Kentucky, and other firearms were recovered within weeks

or months afber they were purchased in Kentucky. Typically, the time to crime refers

to the period of time between the original purchase of a firearm and the recovery of

that firearm by law enforcement at a crime scene. Throughout this Affidavit, the time

to crime refers to the time period between when HENDERSON and PHILLPS
purchased the fi.rearms from various Kentucky residents to when the firearms were

recovered at various crimes scenes in Chicago. Based on my training and experience,

a short time to crime is indicative of firearms trafficking. Individuals involved, in

firearm trafficking often sell firearms to people who have to deal in the illegal firearm

market, because they are prohibited from legally obtaining firearms. This illegal

market often results in firearms being recovered at crime scenes. The short time to

recovery demonstrates            that HENDERSON and PHILLPS sold the              purchased

firearms very quickly, in many instances mere weeks after they were purchased.

      9.     This Affidavit contains three main sections. The fi.rst section details the

means by which HENDERSON and PHILLIPS sold firearms to WRIGHT, who acted

as a broker (see   jljl   fO   - 45). Specifically,   on multiple occasi.ons, HENDERSON and

PHILLPS used Facebook to communicate with WRIGHT about firearms they had
for sale, including the types of firearms they had available and the prices of the

firearms. The second section of this Affrdavit explains how PHILLPS                    and

HENDERSON purchased firearms                  in   Kentucky, including how PHILLPS and

HENDERSON identified gun sellers and straw purchasers from which to obtain

firearms for the purpose of later reselling, transferring, and/or delivering them to




                                                   4
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WRIGHT and other individuals in the Chicago area(see        9l1l   46 - 95). Finally, the   third

section of this Affrdavit details instances where law enforcement recovered firearms

that were originally purchased in Kentucky directly from HENDERSON                           and

PHILLPS      (see gltl go   - 116).

    HENDERSON. PHILLIPS AND WRIGHT ENGAGE IN ILLEGAL FIREARMS
                     SALES THROUGH FACEBOOK

       10.    In summary, during the course of this investigation, agents located
Facebook accounts believed to belong to HENDERSON,2 PHILLPS,s and WRIGHT.4


2 Law enforcement identified HENDERSON's Facebook account as follows: On or about
August 2OL7, through the use of a covert Facebook account, investigators discovered a
publicly available Facebook page under the name "Chris Henderson." Investigators identified
HENDERSON as the account user based on the voluminous number of photographs of
HENDERSON posted on the account. For example, in one of the photographs posted on
HENDERSON Facebook Account, HENDERSON is depicted standing in front of a residence
located on the 900 block of North Central Park Avenue, Chicago, Illinois. The address is
visible in the photograph. According to Illinois Secretary of State records, this is
HENDERSON's last known Chicago address. Based on a comparison of HENDERSON's
booking photograph and prior surveillance observations, law enforcement identified
HENDERSON as the person depicted in the photographs of the HENDERSON Facebook
Account.
3 Law enforcement identified PHILLIPS'Facebook account as follows: Through a search of
HENDERSON's Facebook "friends," agents discovered a publicly available Facebook page
under the name "Jojo A'mf'("PHILLIPS Facebook Account") believed to belong to PHILLPS.
Investigators observed several photographs posted to the account depicting PHILLPS.
Based on a comparison of PHILLIPS' booking photograph and prior surveillance
observations, law enforcement identified PHILLPS as the person depicted in the
photographs of the PHILLPS (Jojo Amfl Facebook account.
4 Law enforcement identified WRIGHT's           Facebook account as follows: Numerous
photographs and videos of WRIGHT posted on the account depicted known photographs of
WRIGHT. For example, investigators observed a photograph of WRIGHT in front of a
residence. The address for the residence is visible in black lettering on an address plaque.
The plaque is in front of the residence next to the front door of the residence. Based on
previous surveillance observations of the residence, law enforcement believes that the
residence depicted in the photograph is located on the 900 block of North Central Park Ave.,
Chicago, Illinois. According to most recent Illinois driver's license issued to WRIGHT the
address listed on the license is located on the 900 block of North Central Park Avenue,
Chicago, Illinois.




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Based on a review of the publicly available information on WRIGHT's Facebook

account, and of records obtained from a federal search warrant, law enforcement

observed several messages exchanged between HENDERSON, PHILLIPS, and

WRIGHT regarding the iltegal sale of firearms. Throughoat              2017   , HENDERSON

and PHILLPS contacted WRIGHT on Facebook repeatedly to broker firearm sales

in the city of Chicago. Most of the contacts occurred while or afber HENDERSON and

PHILLPS returned from purchasing firearms in Kentucky. In many instances,
HENDERSON and PHILLPS provided WRIGHT with the make and prices of the

fireartns, which \Mere in some cases, approximately       SOVo   to   lAUVo above   the retail

value of the firearms.

WRIGHT Assisted HENDERSON With Reselling                         a Firearm That          Wa,s
Purchased by Indiuid.ual Q in Kentuchy

         11.      fn summary, or or about February 8,20L7, WRIGHT was depicted in

a Facebook photograph with two Glock pistols, one of which, according to ATF
records, was originally owned by a gun seller located in Kentucky        just   11 days before

the Facebook photo. On or about June 9,20L7 , during a traffic stop in Chicago, CPD

recovered another Glock pistol originally owned by the sarne gun seller in Kentucky

who, along with his/her spouse, admitted to engaging in numerous private firearms

sales. Phone records show multiple contacts between Individual R and the user of a

number believed       to be used by     HENDERSON, 502-)OO(- 6682 (hereinafber,

"Henderson Pinger 6682'l,sbetween February       27   ,20L7 and March 3,2017 .


5   Law enforcement identified HENDERSON as the user of Henderson Pinger 6682 based on
the following: According to records obtained from Pinger, the telephone number for


                                           6
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        12.    More specifi.cally, through the use of a covert account, law enforcement

observed a video posted on WRIGHT's Facebook account, on or about February 8,

 2017, depicting WRIGHT and HENDERSON together inside a vehicle. Based upon

my review of the video, WRIGHT is positioned in the front passenger seat of the

vehicle, and appears to be rapping along with the background music. HENDERSON

is the driver of the vehicle. WRIGHT is dressed in a dark grey hooded sweatshirt          with
a "True Religion" emblem and matching dark grey sweatpants with white stitching.

Law enforcement further observed another photograph posted to WRIGHT's
Facebook account on or about February 8, 20L7, which depicts two Glock pistols

positioned on an individual's lap. The individual's face              is not visible in    the

photograph. However, the individual is dressed in sweat pants with white stitching

and draw strings. Based on a comparison of the sweat pants depicted in the

aforementioned video and photograph,        it   is believed that WRIGHT is the individual

holding the two Glock pistols on his lap.




Henderson Pinger 6682 was created using the telephone number for Henderson Phone 1.
Specifically, on or about June 10, 20L6, Henderson Phone 1 was used to register Henderson
Pinger 6682 with Pinger. Pinger is a company that develops applications that can be run on
cellular phones, among other devices. Pinger's applications allow for messaging, calling
services, and other call management tools. It is a free application that adds a second phone
number to a cellular telephone to keep the device's main number private. Pinger also provides
a service called "Textfree," which is a free app that allows users to send and receive text
messages, as well as make and receive phone calls utilizing a third party's network
connection, such as a carrier's data or Wi-Fi network. Once an individual obtains a second
phone number through Pinger's services, the individual can use that phone number on any
device - it does not have to be used on the device that was used to obtain the phone number.
Notably, the area code used to create the telephone number for Henderson Pinger 6682
(502") is the area code for north-central Kentucky, including the city of Louisville, Kentucky.


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      13.    Agents further observed public comments posted underneath the

aforementioned photograph on WRIGHT's Facebook account. For example, on or

about February 8, 20L7, the following exchange occurred between WRIGHT and

Individual O, a gun buyer, regarding the firearms:


              Individual O:             I   see u my boy [emojisJ

             WRIGHT:                    [Emojis]

             Individual O:             Wat dem is G27's [Glock model 271orG26's

                                        lGlock model 261?

             WRIGHT:                    27 [Glock model 27]

             Individual O:              lemojis] Check yo inbox

Based on my training and experience, I believe that Individual O was inquiring about

the model number of the Glock pistols. The last message from Individual O, which

reads "Check yo inbox," suggests that IndMdual O sent WRIGHT a private message

regarding the firearms.. The Facebook records from WRIGHT's account confi.rm that

Individual O sent WRIGHT a message about the guns. Specifically, on or about

February   8,2}ll,Individual   O sent the following messages to WRIGHT:




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             Individual O:




             Individual   O:          Got da same ones [Got the same ones]

      L4.    In another public comments dialogue underneath the Februar5r 8, 2OL7

photograph on WRIGHTs Facebook account, Individual P,              a gun buyer,   and

WRIGHT had the following ssshange:


             Individual P:            How much fa both

            WRIGHT:                   They gone

Based on my training and experience, I believe that Individual P was inquiring about

the purchase price for the two Glock pistols depicted in the photograph. WRIGHT

responded by suggesting that the firearns had been already sold.

      15.   In the photograph, the serial number "KEB655" is visible on the slide of

one of the Glock pistols. Through a search of a law enforcement database, law

enforcement discovered that the firearm bearing serial number "KEB655" (a Glock

model 27, .40 caliber pistol) was purchased, on or about January 28,20t7, along\Mith

an additional Glock mod.el 27, .40 caliber pistol and a Glock model 22, .4O caliber

pistol, with serial number MUZ886. Records show that the three fireatms were



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purchased by Individual Q, a gun seller and Kentucky resident,                 at Washington
Trading Company,LLC ("Washington Trading"), located in Lexington, Kentucky.

          16.      According to police reports, on or about June 9,     2OL7   , at the location

of 7445 S. Harvard, Avenue in Chicago, CPD arrested Individual S after officers

observed Individual S drinking alcohol while seated in the passenger seat of avehicle

parked on a public way. Officers approached Individual S and asked him/her to exit

the vehicle. Individual S gave officers verbal consent to search the vehicle. During

the search, officers recovered a Glock model 22, .40 caliber pistol, with serial number

MUZ886, loaded with thirteen rounds in the magazine and one round in the chamber.

The firearm was recovered from underneath Individual S's car seat. Individual S, a

convicted felon, was charged with an ordinance violation and weapons offense.G

          L7.    Based on a search of a law enforcement database, law enforcement

discovered that the aforementioned firearm bearing serial number "MU2886" was

one of the Glock pistols purchased by Individual Q from Washington Tlading in

Lexington, Kentucky, on or about January 28,2017.

          18. Law enforcement          interwiewed Individual      Q and his/her spouse,
Individual R, regarding the recovery of the Glock pistol. During the interwiew,

Individual Q provided the following information:

                a.     Individual Q did not currently possess any of the firearms he/she

purchased from Washington Trading records on January 28,20\7; and




6   Individual S's case was dismissed in the Circuit Court of Cook County.



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               b.    Individual Q often accompanied Individual R to gun shows in

Kentucky and allowed Individual      R,   to sell the firearms he/she purchased on January

28,2017.

         19.   When interviewed, Individual R provided the following information:

               a.    Individual R purchased, sold, and traded guns at Kentucky gun

shows and also on a website called Armslist.com;

               b.    Individual R was interviewed by ATF agents in or around March

2O1r7   about his/her private firearms sale transactions and during the interview he

was seryed a "Warning Notice of Unlicensed Firearms Dealing in Violation of Federal

Law;"2

               c.    Individual R did not have any records of past firearm transactions

from gun shows;

               d.    Individual   R       assured   that   each.   buyer had   a   Kentucky

identification card prior to conducting any private firearms transactions, but did not

execute a   bill of sale to document the transaction; and

               e.    Individual R stated that he/she had not sold or traded guns since

he received the warning notice from ATF on or about March 14,2017.

               f.    Individual R also confirmed that his/her cellular telephone
number was 859-)00(-6451, and had been for several years.


7 The 'TVarning Notice of Unlicensed Firearms Dealing in Violation of Federal Law" is a
notice issued by ATF to individuals who do not possess an FFL license, and therefore, are
prohibited from engaging in the business of dealing firearms without a license. This warning
notice is often referred to as a "Cease and Desist" letter.




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        20.        According to law enforcement records, between January 23,20L5 and

February 3,20L7,Individual Q and Individual R purchased more than forty firearms.

Records further show      that nine of those firearms have been recovered from various

crime scenes in the Chicagoland area, involving felon in possession of a firearm,

unlawful use of a weapon, aggravated assault of a \Meapon, and narcotics related

offenses.

        21.        Phone records show that, between February 27,20L7 and March 3,

2017, there were approximately eight incoming and outgoing phone calls between

Individual R's telephone number and Henderson Pinger 6682 number.

        22.        Accordingly, Individual R purchased two Glock pistols on January 28,

20L7   in Kentucky, and by February 8,2077, approximately         11 days later, one of the

firearms appeared in a Facebook photo on WRIGHT's lap.


WRIGHT Brokered. Firearms Transaction betueen HENDERSON and
Indiaidual JJ through Faceboo.h On or About Janu@ty 4, 2077
        23.        In   summary, on or about Januaryr 4, 2017, HENDERSON and

WRIGHT engaged in a series of Facebook message exchanges, wherein WRIGHT

brokered the sale of a,45 caliber pistol between HENDERSON and Individual JJ, a

convicted felon.

       24.         On or about January 4,2017     ,law enforcement observed the following
Facebook exchange between HENDERSON and WRIGHT:

              HENDERSON:           Wassup [What's upJ bro

              WRIGHT:              U ready




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         HENDERSON:         What they talkin

         WRIGHT:            He got 700

         HENDERSON:         Ight [ok] hold on

         WRIGHT:            Send pic

         HENDERSON:         Just did

         }IENDERSON:        2k [$2,000]

         WRIGHT:            [thumbs up sticker]

         HENDERSON:         U got   it   or no

         }IENDERSON:




        HENDERSON:         Wassup [What's up]

        WRIGHT:            That's   it
        HENDERSON:         Rn yea [nignt now yeahJ

        HENDERSON:         They won't sum [They want some]

        WRIGHT:            That's glock wat [That Glock is what]

        HENDERSON:          451.45 caliberl



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         HENDERSON:         They coo like always? Lol lThey cool like always?

                            Laugh Out Loudl

        WRIGHT:             He sad for 700 [He said for $700]

         HENDERSON: I told         u ok what they wanna do       I ain't coming on the

                            block doe   I   told you ok. What do they want to do.   I
                            am not coming to them]

        WRIGHT:             He sad where u trying meet

        HENDERSON: Might have               to come to me   I aint driven
        HENDERSON: I'm n Maywood rn
        WRIGHT:             Ight

        HENDERSON: Let me knw               wasup

        WRIGHT:            They got wheel [they have a car]

        WRIGHT:            I'm about to come

        HENDERSON: Let me knw when y'a'll                on y'all way bro

        WRIGHT:            Wats address

        HENDERSON: Hold on Finna              get   it
        WRIGHT:            You can't meet me at other spot

        WRIGHT:            Yoo

        WRIGHT:             [Facebook video call - incompletel

        WRIGHT:             [Facebook video call - incompleteJ

        WRIGHT:            Yo we ready

        HENDERSON: U said u wasn't coming out here?



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         HENDERSON:         I just called u

         WRIGHT:            Yeah

         WRIGHT:            We coming

         WRIGHT:            Adress

         HENDERSON:         [Facebook video call - incomplete]

         HENDERSON:




         HENDERSON:         It say yo like busy
         HENDERSON:         I can't answer yo call

         WRIGHT:            ,address

         HENDERSON:         11 and Harvard

        WRIGHT:             The address not popping up

         HENDERSON:




                                       15
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                                                       d12'
                             q glwtlbrFi*doddr@




            HENDERSON:           Get on 290 get off on 9th and make a left make a

                                 right on Roosevelt then a right on 1lth come two

                                 block I'm on the corner

            WRIGHT:              Give me address

            HENDERSON:           I just did nigga lol

            HENDERSON:           2OL2 s 11th Ave              just   go there

            HENDERSON:           Wya [Where You At]

            WRIGHT:              omw [on My Way]

            WRIGHT:              U got a beamer for sell [You have a laser sight for

                                 salel

            HENDERSON:           No mf gon [No motherfucker gonel

            WRIGHT:              We here

      25.   Based on my training and experience,                     I   believe HENDERSON was

offering to sell a Glock pistol and an uAK-47' style pistol for $2,000. WRIGHT was



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acting as an intermediary for the sale and informed HENDERSON the buyer was

willing to pay   $ZOO   for the Glock .45 caliber pistol. HENDERSON also informed

WRIGHT these are the only firearms for sale at this time. HENDERSON and

WRIGHT next discussed the meeting location where the firearms transaction would

occur.

         26.   On or about January 4, 2011, WRIGHT received a Facebook message

from an account associated with Individual JJ, a gun buyer.8 Law enforcement

observed the following Facebook exchange between WRIGHT and Individual JJ:

               Individual   JJ:    What's yo # [What's your number]

               Individua1 JJ:      [Facebook video call - incompletel

               Individua1 JJ:      [Facebook video call - incompletel

               WRIGHT:             773***4617e

               Individua1 JJ:      I just called

               WRIGHT:             Got a block 4.5 in drako [Got a Glock .45 caliber

                                   pistol and Draco pistotl

               Individual JJ:      How much.

               Individual JJ:      For Glock 4.51.45 caliber Glockl $700

               WRIGHT:             Yeah


8 Individual JJ has been identified by law enforcement and has   a20LG felony   theft conviction
in Cook County, Illinois.
e According to records from the service provider, the phone number ending in 4617 was
subscribed to Individual KK of Chicago. A review of WRIGHT's Facebook account revealed
that Individual KK was in a relationship with WRIGHT.


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         Individual   JJ:   Ight come on where wannameet [Alright come on

                            where do you want to meet]

         Individual   JJ:   ?


         WRIGHT:            Bout to see wya L{bout to see Where You Atl

         WRIGHT:            [J got wheel [You have a car]

         Individual   JJ:   Wya [Where You At]

         WRIGHT:            [Facebook video caII - incompletel


         Individual   JJ:   [Facebook video call - incompletel

         Individual   JJ:   Wya

         Individual   JJ:   Give me a min

        Individual    JJ:   Here I come

        WRIGHT:             Isht [Alright]

        WRIGHT:             Yoo

        Individual    JJ:   [Facebook video call - incompleteJ

        WRIGHT:             Bout to go home

        Individual    JJ:   I'm on my way boy had to get jomp

        WRIGHT'             Wya [Where You At]

        Individual    JJ:   Jackson Cicero

        Individual    JJ:   Coming down Hamlin

        WRIGHT:             Ight [Alrightl

        Individua1    JJ:   Wya [Where You At]




                                     18
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                 Individual JJ:       I'm on cello [I'm on Monticello]

                 WRIGHT:              Come on cp back [Corae on Central Park back]


          27.    Records from HENDERSON Facebook Account shows that, on or about

January 4,2017, at approximately 8:15 p.m.,10 HENDERSON sent a Facebook

message to WRIGHT and told WRIGHT to meet                 him at the intersection of 11th

Avenue and Harvard Street in Maywood, Illinois. HENDERSON provided WRIGHT

directions from Interstate 290. On or about January 4,2017, at approximately 8:30

p.m., WRIGHT sent HENDERSON a Facebook message that he and IndMdual JJ

had arrived at the designated location. Law enforcement received historical cell site

records.for a telephone number believed to be used by HENDERSON, 708-)00(-4636

(hereinafter, "Henderson Phone 1").rr The records show that Henderson Phone                  1


utilized a cell tower near the Maywood location at the time of this event.

          28.    Based on my training and experience,       I   believe Individual JJ picked

WRIGHT up from the location of Augusta and Central Park Avenue for the purpose

of meeting with HENDERSON to engage in a firearm transaction.                 I   believe that

WRIGHT and Individual JJ met HENDERSON at the location of 11th Avenue and




10   Facebook times are given in UTC and the times in the affrdavit have been converted.
11 Law enforcement identified Henderson Phone 1 as a telephone number used by
HENDERSON based on the following: According to subscriber information provided by the
service provider, Henderson Phone 1 is subscribed to Christopher Henderson at 1161 Mallard
Creek Road, Louisville, Kentucky. Additionally, investigators have learned that Henderson
Phone 1 is linked to HENDERSON's Facebook account.




                                               19
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.   Harvard Street in Maywood, where HENDERSON sold the .45 caliber pistol to

    Individual JJ.


    WRIGHT Brohered. Firearms Transaction betuteen HENDERSON and. An
    Unidentified Indiaidual through Facebook On or About Januan! 8, 20L7

          29.        In summary, on or about January 8, 2017, WRIGHT          engaged   in   a

    series of Facebook message exchanges with HENDERSON to arrange the sale of a

    Draco Pistol to an unidentified individual.

          30.        Law enforcement observed the following exchange from on or about

    January 8, 2017, between IIENDERSON, using HENDERSON Facebook Account,

    and WRIGHT, using the WRIGHT Facebook Account:

                 HENDERSON:          Yoo

                 WRIGHT:             Yoo


                 HENDERSON:          TeII yo homie got that Draco [draco style firearm] for

                                     him

                 WRIGHT:             How much

                 HENDERSON:          He said 1400 ($1,400)

                 WRIGHT:             Ight

                 WRIGHT'             My Boi said he got 1,000 [$1,000]

                 HENDERSON:          NO


                 WRIGHT:             Wat u would take

                 HENDERSON:          1400 that's a deal they going for 1700




                                             20
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         HENDERSON:         What's the word

         WRIGHT:            [Facebook video call       - incompletel
         WRIGHT:            U got a 9 [You got a 9mm pistotl

         HENDERSON: [unknown emoji]

         WRIGHT:            Hun

         HENDERSON:         Yea

        WRIGHT:             how much

         HENDERSON:         750 w 30 [$750 with a 30 round magazinel

        WRIGHT:             Qot 675

         HENDERSON: Let u know             when   I   get back

         WRIGHT:            How long he trying to cop [How long? He's trying to

                            buyl

         HENDERSON: Not gone be back fa couple               of hours

        WRIGHT:             Ight

        WRIGHT:             Yoo

         HENDERSON: What           he got

        HENDERSON: Just got back
        WRIGHT:            Yoo

        HENDERSON:          Wassup

        WRIGHT:             Wat u got




                                      21
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         HENDERSON:                   The 9 lrith 30 [30 round capacity magazine] and a

                                      Draco

         HENDERSON:                   What y'all gone do

         HENDERSON:                   675 too low          I need 750 and 1400

         HENDERSON:                   W'assup


         WRIGHT:                      Say he ain't got that much rite now sad wait   till later

         WRIGHT:                      [Facebook video call -{44 seconds}]

         WRIGHT:                      Adress

         HENDERSON:


                     @rr5t                   15-                .?tf,El

                     LL*Irffi'-"-*r.
                                   irriic

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                      rHb


         HENDERSON:                   Wya [Where are youfl

         WRIGHT:                      Bout to come


                                                    22
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                 HENDERSON:            Ight how long

                 WRIGHT:                [Facebook video call {gzg seconds}]

                 HENDERSON:             [Facebook video call {20 seconds}]

                 WRIGHT:               Wats the number

                 HENDERSON:            What nUmber

                 WRIGHT:               Yo number

                 HENDERSON:            708[XXX] 463612

          31.    Based on my training and experience,         I   believe WRIGHT met with

HENDERSON to obtain the 9mm and Draco style pistols referenced in the messages

exchanged. WRIGHT acted as the intermediary for the firear:ns transaction and

brokered the sale of those firearms to an unidentified individual.


On or About Januany 73, 20L7, WRIGHT and HENDERSON Exchanged
Facebooh Messages Regarding Engaging in Future Firearms Transactions

          32.    In another conversation captured from the WRIGHT Facebook Account

search warrant,           the following     exchange occurred between WRIGHT and

HENDERSON, using HENDERSON Facebook Account, on or about January 13,

2017

                IIENDERSON:            Yo

                WRIGHT:                Yo

                HENDERSON:


12   As noted above,   this telephone number is identified as Henderson Phone   1.




                                                23
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         HENDERSON:         In   order 45 L45 caliberl,40 [.40 caliber],4O [.40

                            caliberl 650 t$6501 for them top 2 and 7 t$7001 fa the

                            last one

        WRIGHT:             How much in wst else

        HENDERSON:          Sumbdy [somebody] just bought 10 [ten firearms]

                            waiting on him now

        WRIGHT:             Price in the last message

        WRIGHT:             Its some big shit

        WRIGHT:             It's only one pic

        WRIGHT:            Wats price for these 3 lthree fireams depicted in

                            photograph abovel

        HENDERSON:         Just told u 650 t$6501 and 700 t$700I

        HENDERSON:         Big shit lrifles] gone was some ars [AR-15 style
                           firearmsl

        WRIGHT:            He want some big shit [rifles] to




                                       24
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         HENDERSON: If this dude don't come get it I'll            send the pic thru

                            but as of now sold

         WRIGHT:            Send pic throw a price

         HENDERSON:         ?what

        HENDERSON:          I have u the prices on the pic I sent

        WRIGHT:             For other pipe u selling buddy [For the other gun you

                            are sellingJ

        HENDERSON:         Ain't non else rn cause sumbd.y fi.nna come get 10 if

                           they don't get them   I'11   send the other pic

        WRIGHT:            You know my people need glocks

        HENDERSON:         Yea had 10 of them but they gone all that's left is

                           what I sent u

        WRIGHT:            Dam

        HENDERSON:         Let me knw wassup

        WRIGHT:            Ight

        WRIGHT:            Miltennium 600 [Taurus Millennium for $600?]

        HENDERSON:         650 still gotta give u 20lol

        WRIGHT:            Wats play for all_3 of them

        HENDERSON:         1950

        WRIGHT:            1900

        HENDERSON:         1925 come on

        WRIGHT:            Tell yo brother bring u




                                    25
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              HENDERSON:              That's ugly rn lol

              WRIGHT:                 Omg here we go

              HENDERSON:              It,s SAFE FOR ALL OUT HERE U KNW THAT

              WRIGHT:                 I kno but drivers ain't out here

              HENDERSON:,             Yea but them ppls is   I'll let u Knw if   sumn change

                                      [Yeah but law enforcement is, I'11 let you know      if
                                      something changesJ

       33.    Based on my training and experience,           I   believe HENDERSON was

offering to sell three pistols for   $eSO and $700 each.   WRIGHT was again acting as an

intermediary for the sale and explaining to HENDERSON that the buyer wants some

large firearms, specifically firearrns that shoot rifle rounds, HENDERSON described

having sold ten firearms to another buyer and not having an)nnore, "AR-15' style

firearms, but would let WRIGHT know if the sale does not happen. HENDERSON

also mentions having to pay WRIGHT for brokering the deal.

On or About JanuanTr L5, 2077, WRIGHT and. PHILLIPS Erchanged, Facebooh
Messages Regarding Engaging in a Future Firearrns Transaction

       34.    In another conversation captured from the WRIGHT Facebook Account

search warrant, the following exchange occurred between WRIGHT and PHILLIPS,

using PHILLPS Facebook Account, on or about January 15,20L7:

              WRIGHT:                 lFacebook call {incomplete}J

              WRIGHT:                 Yoo

              PHILLIPS:               Wasup

              WRIGHT:                 lFacebook call {incomplete}J



                                              26
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            PHILLIPS:          [Facebook call {114 seconds}]

            WRIGHT:            lFacebook call {incomplete}l

            WRIGHT:            I need merch [gunsl

            PHILLIPS:          lShared video {unknown} with WRIGHTI

            PHILLIPS:          lFacebook call, {234 seconds}]

            WRIGHT:            1500 without the drum t$fSOO for the firearm

                               without the high capacity drum magazinel

            PHILLIPS:          18 tg1800l

            WRIGHT:            1600 I$16001

            PHILLIPS:          ls   t$18001

            WRIGHT:            lFacebook audio clipl

            PHILLIPS:         Ain't nun yet

            WRIGHT:            lFacebook audio clipJ

            PHILLIPS:         Lol they deleted

            WRIGHT:            lFacebook audio clipl

            PHILLIPS:          Send the invite

            PHILLIPS:          lFacebook call {13 seconds}l

            PHILLIPS:          lFacebook call {29 seconds}l

      35.   Based on my training and experience,       I believe that WRIGHT asked
PHILLPS about the status of the guns that PHILLPS had for sale. PHILLIPS then

shared an unknown video with WRIGHT. Based on the context of the conversation,

law enforcement believes that PHILLPS showed WRIGHT a video of a rifle with a




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high-capacity "drum" magazine. WRIGHT attempted to negotiate the price of the

firearm without the high capacity *drum" magazine. Ultimately, PHILLPS provided

a sale price for the firearm for $1,800


In Januany and August 2077, WRIGHT Engaged in  Facebook Message
Exchanges With HENDERSON To Purchase Fireartns To Commit Acts of
Violence

       36. In    summary,     in   January and August 2017, WRIGHT contacted

HENDERSON through Facebook to purchase firearms for himself and other criminal

gang members for protection and to commit acts of gang retaliation. According to law

enforcement records, WRIGHT is a menber of the Coco and Cornell Gang ("CCG") ts

faction of the Conservative Vice Lords ("CVLs") criminal street gang.

       37.    Specifi.cally, on or about January 25, 2017, WRIGHT, using WRIGHT

Facebook account, and HENDERSON, using HENDERSON Facebook Account,

engaged in the following exchange:

             WRIGHT:               Yoo

              HENDERSON:           Wassup

             WRIGHT:               Pics [photos of gunsl

             HENDERSON: Ain't             non right now

             HENDERSON:            We ain't even look at the shit yet

             WRIGHT:               wya



13According to law enforcement records, on or about August 2,20L2, Edward "Coco" Smith
and Cornell Ferguson were murdered in a gang related shooting at 622 N. Avers Ave.,
Chicago, Illinois.



                                            28
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             HENDERSON:           Bowling

             WRIGHT:              When u gone be ready my Boi need Thaf shit to go

                                  slide we just lost one are niggas

             HENDERSON:           Not in town yet bro still got stuff to get in the

                                  morning

             WRIGHT:              So when u gone b ready    then

             HENDERSON: Itoldltomorrow
      38.    On the same day, WRIGHT posted a public message on his Facebook

page, which referenced the death of "Rondo Offdaave." WRIGHT also "tagged" a

photograph of "Rondo Offdaave." A search of CPD records for homicide victims in

January   2OL7   showed twenty year old Individual LL was shot and     kiled   on or about

January 23,2017 .Individual LL was a documented member of the CCG faction of the

CVL street gang. Photographs of Individual LL match the photographs from the

Facebook profile of "Rondo Offdaave."

      39.    On or about August 4, 20L7, WRIGHT, using WRIGHT Facebook

account, sent HENDERSON a Facebook message inquiring about HENDERSON's

whereabouts. The following exchanged occurred:

             HENDERSON:          Wassup bro phone been messed up

             WRIGHT:             Man

             HENDERSON:          Wassup

             WRIGHT:             wya

             HENDERSON: Outta town still had take care some shit you straight



                                          29
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             HENDERSON:         U was lookin fa me

             WRIGHT:            We need them licks lwe need gunsJ

             HENDERSON:         U don't they do lol

             HENDERSON:         U good ain't chu


             HENDERSON:         They just gotta to wait gotta take care some business

                               b4I   leave

            WRIGHT:            Mf got shot today

             HENDERSON:        Who??

            WRIGHT:            Mfs rob dice game

            HENDERSON:         Who and where at

            HENDERSON:         Our shit or c nem [our dice game or the CVLs]

            WRIGHT:            On CP one Are shorty pop one they ass [on Central

                               Park one of our young kid shot them]

            HENDERSON:         Dam they getting shit popping   I   see

      40. A search of CPD records show that, on or about August 4,2OI7, at
approximately 4:20 p.m.,CPD responded to a "shot spotter" call, which was updated

to a "person shot" call at 945 N. Central Park Ave., Chicago, Illinois. Responding

officers located. the victim, Individual MM, with a gunshot wound to his/her upper

right arm. Individual MM told the offrcers that he was walking past a group of
unknown individuals who were rolling dice on the sidewalk. As Individual MM passed

the unknown group, Individual MM felt a blunt object pressed against his back.

Individual MM said an unknown subject searched through Individual MM's pockets



                                        30
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and removed $300. Individual MM was then told to run by the unknown subject.

While Individual MM ran, he heard a gunshot and felt pain on his arm. Individual

MM could not provide a description of the offenders to the reporting offi.cers.

       41.   Based     on my training and experience, I believe that in            the

aforementioned Facebook messages between WRIGHT and HENDERSON, WRIGHT

requested to purchase and/or to broker the purchase of firearms from HENDERSON

that WRIGHT and his other gang members intended to use as protection and for acts

of gang retaliation.


WRIGHT Brohered Firearms Transaction betueen PHILLIPS and Indiuidual
NN through Fa,cebooh in May and. August 20L7

      42. During the        course   of   searching WRIGHT's Facebook account,

investigators located several conversations between WRIGHT and Individual NN, a

gun buyer, regarding the sale of firearms. Individual NN is a documented member of

the CCG faction of the CVLs street geng, concentrated on the Westside of Chicago.

During the messages exchanggd, Individual NN made reference to the CVL CCG

when he ended his messages with "co" and "c." Throughout many of WRIGHTS'

private and public Facebook posts, WRIGHT also made the same                references

regarding CVLs and the CCG.

      43.    Specifically, on or about May 29,20L7, the following exchange occurred

between WRIGHT, using WRIGHT Facebook account, and Individual NN, using

Individual NN Facebook account:




                                          31
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            WRIGHT:




            Individual   NN:   How much fo tha brown one c [price on brown gunJ

            WRIGHT:            650 or 700 gotta check

            Individual   NN:   Ish bet I'm fin put sum together [ok I'm going to put

                               something togetherJ

            WRIGHT:            Ight [ok]

      44.   On or about August 10, 20L7, WRIGHT communicated again with

Individual NN via Facebook regarding the sale of firearms. The following exchange

occurred behnreen WRIGHT, using WRIGHT Facebook account, and Individual NN,

using Individual NN Facebook Account:

            WRIGHT:            [Facebook call {l 2 seconds}]




                                        32
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         WRIGHT:




        WRIGHT:            Choppa lick [AR rifle]

        WRIGHT:            In 3 more [three more firearms]

        Individual NN:     Naw I'm sayin I jus take the six shorty dat man

                           tryna charge 2bucks Fa dat choppa dat MIka ain't

                           even a g n tha store on co [No, I'm just saying   I'lljust
                           take the 6 guns your source is trying to charge

                           $2,000 for an AR rifle that retails for $1,000 at the

                           storel

        WRIGHT:            [Audio clip-Unknown]

        WRIGHT:            U want the 6 then

        Individual NN:     Yea dats wit da Ghzzy's right [Yeah, that's with the

                           Glock pistols, right?l




                                    33
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               WRIGHT:            Yeah I think

               Individual NN:     Wen n da am or tanight [When in the morning or

                                  tonight?J

               WRIGHT:            I think tonight

               Individual   NN:   Isht let me kno

               WRIGHT:            Bet

 .       45.   Based on my training and experience,        I   believe that WRIGHT sent

Individuat NN a photograph of nine handguns, an AR rifle, and a bag filted with

ammunition for the purpose of negotiating a firearms transaction- WRIGHT and

Individual NN initially negotiated a gun deal for three handguns and one rifle.

Individual NN re-negotiated the   d"eal   for six handguns due.to the high price of the AR

rifle.

         46. In another conversation captured       from the WRIGHT Facebook search

wanrant, the following exchange occurred behareen PHILLIPS, using the PHILLPS

Facebook Account, and WRIGHT, using the WRIGHT Facebook Account, on or about

August 1,L,20t7:




                                             34
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              WRIGHT:




             WRIGHT:      U got it [referring to the firearm that is circled in redl   rn


              PHILLIPS: Yea 650    t$6501

              PHILLIPS: Clip hold 17 [gun magazine holds 17 bullets]




1a The photographs included in this Affidavit were obtained from the WRIGHT Facebook
search warrant. The red and white markings that appear on the photographs were present
on the images provided by Facebook from the WRIGHT account, and have not been altered
by your affrant.
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            WRIGHT:




            WRIGHT:     How much for those [referring to the two firear:ns eircled

                        in whitel

            PHILLIPS: One on top gone

Based on my training and experience,   I   believe PHILLPS was attempting to sell

fi.rearms to WRIGHT and was providing a price for the circled firea:ms and the




                                       36
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magazine capacity of the firearms. Additionally, PHILLIPS indicated that one of the

firearms, circled in white, had already been     so1d.


         PHILLIPS AND HENDERSON PURCHASE FIREARMS IN KENTUCI(Y

September 74, 2016 Purchase of Fireartn by HENDERSON a.nd PHILLIPS
From Indiaidual L in Kentuchy

       47.    In summary, HENDERSON and PHILLPS purchased a firearm from

Individual L, a gun seller, in Kentucky on or about Septembe     r   L4, 20L6, and that

same fireann was recovered    in Chicago on or about November L2,2016-

       48.    More specifically, and according to CPD reports, on or about November

12, 20L6, CPD recovered a Glock, 34, 9mm pistol, bearing serial number VHR891.

The fi.rearm was recovered during a narcotics investigation on the west side of

Chicago. According    to ATF records, the firearm was originally purchased by
Individual L in Kentucky

       49. Law      enforcement interviewed Individual       L about the fi.rearm.
Individual L stated that he/she purchased the Glock, model 34, 9mm pistol with serial

number VHR891, in September 2013. Individual L sold the firearm to an individual

he/she met on A:r'mslist. The buyer provided jphillips2TlA@gyLarl.coml5 as a contact

email to coordinate the sale of Individual L's fi.rearm. The buyer was a black male

and was accompanied by another male, but Individual L was unable to provide any

further description of either individual.


15According to Google records, jphillips27LA@gmail.com is subscribed to "Mr. Nice Guy".
However, records obtained from Xsport Fitness, an American g5rm chain, provide that
PHILLPS listed jphillips2714@gmail.com as his email address in hvo g5rn membership
contracts from 2015 and 2016.



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       50.     Individual L provided law enforcement with Armslist communications

between Individual L's account and jphillips27l4@gmail.com. Based on a review of

the email communications, Individual L was able to determine that the firearm was

sold to the buyer on September L4, 2016, sometime shortly after 5:L3 p.m., in the area

of L2981 Shelbyville Road, Louisville, Kentucky.

       51. Law enforcement showed Individual L two photo arrays, which
consisted of unmarked photographs of HENDERSON and PHILLPS plus multiple

subjects ("filleis")   with similar      physical characteristics as PHILLPS and

HENDERSON.I6 After viewing the photo arrays, Individual L was unable to make a

positive identifi cation.

       52.     An examination of the historical cell site records for Henderson Phone        1


show that, on or about September 14,20L6, Henderson Phone 1 was utilizing a cell

tower near the location of l298L Shelbyville Road in Louisville, Kentucky, where the

sale of Individual L's firearm occurred. Additionally, law enforcement received

historical cell site records for a telephone number believed to be used by PHILLIPS,

708-)00(-9856 (hereinafter, "Phillips Phone        l").rz An examination of the records


16Unless otherwise noted, all photo arrays mentioned throughout this Affidavit were
conducted in an identical fashion.
77 Law enforcement identified Phillips Phone 1 as a telephone number used by PHILLPS
based on the  following: According to subscriber information provided by the service provider,
in or around November 20L6, Phillips Phone l was subscribed to John Phillips at the Hillside
Residence. As noted above in footnote 1, Phillips Vehicle 1, which PHILLPS was observed
driving, is registered under PHILLPS'name and at the Hillside Residence. In addition, as
discussed further below, during the course of this investigation, investigators learned that
PHILLPS provided Phillips Phone 1 on multiple occasions as a contact number for himself
on Facebook.



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shows that Phillips Phone L was utilizing a'cell tower      in the Louisville, Kentucky

area during the time of the firearms transaction involving Individual L.

       53.   The time to crime for the recovery of the Glock, 34, 9mm pistol, bearing

serial numberVlfRSgl was approximately 60 days. Typically, the time to crime refers

to the period of time between the original purchase of a firearm and the recovery of

that fi.rearm by law enforcement at a crime     scene. However, as discussed above,

throughout this Affi.davit, the time to crime refers to the time period between when

HENDERSON and PHILLPS purchased the firearms from various Kentucky

residents to when the firearms \Mere recovered at various crimes scenes in Chicago.

Deeernber 23, 2016 Purchase of Fireartn by HENDERSON and PHILLIPS
f-rom Indiaidual W in Kentuchy

       54.   In summary, HENDERSON purchased a firearm from Individual W, a

gun seller, in Kentucky on or about December 23,20!6,and that same fi.rearm was

recovered in a Chicago suburb on or about   April 7,20L7.

       55.   More specifically, on or about April 7, 20L7, Westchester police

recovered a Glock, 30S, .45-caliber pistol, bearing serial number XDP049, in

Riverside, Illinois, while investigating a vehicular hijacking. Westchester police

arrested an individual and charged the individual           with   aggravated vehicular

hijacking.

      56.    ATF records show the Glock, 30S, .45 caliber pistol, with serial number

XDP049, was originally purchased in November 2014 in West Point, Kentucky by

Individual W.




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       57.    Law enforcement interviewed Individual W regarding the Glock, 30S,

.45 caliber pistol with serial number XDP049. During the interview, Individual W

stated that he/she purchased the gun from Knob Creek Range              in West Point,
Kentucky. Individual W stated that he/she sold the firearm to an individual he/she

met on Armslist. Individual W provided the buyer's email address he/she used to

communicate through Armslist, which was "chawty23;ch@gmai1.com."18 The sale took

place around noon and near the area of 6801 Dixie Highway, Louisville, Kentucky.

Individual W provided law enforcement with a copy of a receipt for the firearm sale.

The receipt was signed by the purchaser and indicated the purchaser                 was

"Christopher Henderson." The receipt also indicated that the sale took place on

December 23,2016.

       58.    Individual W described the buyer as a black male with a stocky build

and dreadlocks, a physical description that        is consistent with HENDERSON.
Individual W was shown a photo alrl:ay of IIENDERSON, but was unable to make an

identification.

       59. Law enforcement later obtained a search warant                             for

chawty23.ch@gmail.com. Based on a review of records obtained from the search

warrant, Iaw enforcement located email communications                           between

chawty23.ch@gmail.com       and the email belonging to Individual W.              These




18According to Google records, chawty23.ch@gmail.com is subscribed to "Chris Henderson"
 and lists Henderson Phone 1 as a contact number.




                                           40
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communications detail the sale of a Glock model 30S that took place, on or about

December 23,2016, sometime afber 3:3L p.m.

       60.     An examination of the historical cell site records for Henderson Phone     l-


show that, on or about December 23,2}l6,between approximately 4:34p.m.and 4:36

p.m.l Henderson Phone L was utilizing a cell tower near the location of 6801 Dixie

Highway, Louisville, Kentucky. Phone records further show that, on or about

December 23,2016,at approximately 2:53 p.m. and 3:36 p.D., there were two contacts

between Henderson Pinger 6682 and 502-)00(-3505, which is a telephone number for

Individual W's place of emploSrment. Historical cell site records for a telephone

number believed to be used by PHILLPS, 312-)00(-0618 (hereinafter, "Phillips

Phone 2")ls   rlro* that the phone was utilizing a cell tower in the Louisville, Kentuclry

area,on or about December 23, 3106, between 8:32 a.m. and 8:37 p.m.

       61.     The time to crime for the recovery of the Glock, 30S, .45-caliber pistol,

bearing serial number XDP049 was approximately 106 days.




re Law enforcement identified PHILLIPS as the user of Phillips Phone 2 based on the
following: According to subscriber information provided by the service provider, Phillips
Phone 2 was subscribed to John L. Phillips at 610 N. Wolf Road, Hillside, Illinois. Records
show that Phillips Phone 2 was subscribed to PHILLIPS between November 25,2016 and
May 9, 2017. As noted above, Phillips Vehicle l was registered to PHILLIPS at the same
Hillside residence.




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January and Februany 2077, HENDERSON and PHILLIPS Obta.ined Three
Firearrns From Kentuchy Residents

       62. In or around January and February 20L7, HENDERSON                        and

PHILLPS obtained three firearms from Kentucky residents, and two of the firearms

were later recovered in Chicago on or about March 28,20L7    .



      63.       On or about March 28,2017, CPD officers executed a search warrant for

cannabis at a residence located on the 3700 block of West PoIk Street, Chicago,

Illinois. CPD recovered, among other items, hro firearms:   a Diamondback Arms Inc.,

model DB-15, .223 catiber pistol, bearing serial number DBI-818209 and an Anderson

model AM-15, 5.56 caliber pistol, bearing serial number L6ll2Z93. CPD arrested an

individual at the residence, a convicted felon, and he was charged with possession of

cannabis.

       64.      According to ATF records, the firearms recovered from the West PoIk

Street residence were originally purchased,     in Kentucky.     Specifically, the first

firearm, Diamondback Arms Inc., model DB-15, .223 caTlber pistol, bearing serial

number D81818209 (the "Diamondback pistol"), was purchased by Individual A, a

straw purchaser. The second firearm, Anderson model AM-15, 5.56 caliber pistol,

bearing serial number LllJlzzg}(the "Anderson pistol"), was purchased by Individual

B, a gun seller. Both Individual A and Individual B are Kentucky residents. During

the course of this investigation, law enforcement interwiewed Individual A and
Individual B.




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                Indiuidual A Straw Purchased a Firearm for PHILLIPS

        65.   During the interview with law enforcement, Individual A provided the

following information:

              a.      In or around November 20L6,Individual A's friends         - Infividual
C and Individual T   -   introduced him/her to an individual named "John." Specifically,

Individual    T introduced "John" as his/her brother. Law enforcement showed
Individual A a photo array that contained a photo of PHILLIPS. Individual A

identified PHILLPS as the person she knew as "John." Individual A explained that

a    couple of months after meeting PHILLIPS, Individual C told him/her that

PHILLIPS needed assistance with purchasing a gun. Individual A was aware that

Individual C had previously purchased a gun for PHILLIPS.

              b.     Individual    A   agreed     to   purchase   a gun for PHILLIPS.2o
Individual A stated that, in exchange for purchasing the gun, Individual A believed

that he/she would be paid     $SOO.   Individual A further explained that he/she went to

a store called Gunz, Inc. in Kentucky to purchase the gun for        PHILLPS. Individual

A recalled that, prior to going to the gun store, he/she spoke with PHILLPS over the

phone. Individual A stated that PHILLPS instructed him/her to go inside the gun

store and ask to purchase a "Draco" pistol. Once inside the store, Individual A stated

that a store clerk informed him/her that the gun store did not c;arry "Draco" pistols.



20 When law enforcemOnt initially approached Individual A about the Diamondback pistol,
Individual A lied to law enforcement and stated that the gun had been stolen from the trunk
of hislher car. Individual A later admitted that statement was untruthful and, in fact, he/she
purchased the gun for PHILLPS.



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Individual A sent a text message to PHILLIPS to inform PHILLPS that the store

did not carry Draco pistols. Individual A recalled that PHILLPS then sent text

messages   to Individual A's phone containing photographs of other types of guns.

Individual   A   stated that he/she then purchased the Diamondback pistol for

PHILLPS, because it resembled a type of gun depicted in the photos PHILLIPS

sent. Individual A maintained he/she had no recollection of purchasing a second gun

for PHILLPS that day.zr Individual A stated that he/she underwent a background

check, and was told he/she would be contacted to pick up the gun once the background

check cleared.

              c.     Individual A stated that, in or around February 20L7, the gun

store notified him/her to pick up the Diamondback pistol. Individual A recalled that

PHILLPS picked him/her up from home and drove to the gun store. Individual A
stated that PHILLPS was driving a white Dodge Charger with tinted windows.

Individual A viewed photographs depicting PHILLPS' white Dodge Challenger.

After viewing the photos, Individual A identified the vehicle as resembling the vehicle

PHILLPS used to drive them to the gun store.

              d.     Individual A stated that when they arrived at the gun store,

Individual A went inside and picked up the Diamondback pistol. Individual A

returned to the vehicle with PHILLIPS, and he drove Individual A home. Individual

A recalled that as they drove to his/her apartment, he/she observed a telephone

21According to records obtained from Gunz. Inc., on February l,2OL7 ,Individual A purchased
the Diamondback pistol as well as aZastava,5.56 pistol with serial number M85-NP005128.




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number, with an area code Individual A believed was associated with Chicago, appear

on the monitor affixed to PHILLIP's vehicle dashboard. Individual A further recalled

that PHILLPS answered the phone call and informed the caller that he would          be

heading "back," which Individual A understood to mean back to Chicago.

             e.     Individual A stated that, once they arrived at his/her eipartment,

Individual A told PHILLPS he/she was going inside to retrieve the paperwork for

the gun. Individual A left the Diamondback pistol inside the car. Individual A recalled

that when he/she returned from his/her apartment, PHILLIPS was gone.

             f.     Individual A explained that he/she tried to call PHILLPS and

reach out to him through his SnapChat account, but PHILLPS blocked Individual A

from his Snapchat and blocked Individual A's phone calls. Individual A stated that

she never received the $500 she was promised in exchange for purchasing the gun.

             g.     Individual A recalled that, on one occasion, Individual T also

introduced Individual   A to his/her cousin "Chris." Law enforcement           showed

Individual A a photo array that contained   a   photograph of HENDERSON. Individual

A identified HENDERSON as the person he/she knew as "Chris." Individual A stated

that Individual T told him./her that PHILLPS and HENDERSON were from Chicago.

      66.    According to Individual A's toll records, between January 11, 2017 and

February 1,20L7, there were approximately 33 incoming and outgoing calls between

Individual A's phone and Phillips Phone 2. Individual A's toll records further show

that, on or about February L,2017 (the day the firearms were picked up from the gun




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store), between approximately 8:41- a.m. and, L2:24p.h., there were approximately

nineteen incoming and outgoing calls behreen Individual A and Phillips Phone 2.

       67.   The time to crime for the recovery of the Diamondback pistol was

approximately 55 days.

                   Indiuidual B Sold a Firearm to HENDERSON

      68.    As explained above, on March 28, 20L7,law enforcement executed a

search warrant on the 3700 block of West Polk Street and recovered an Anderson

pistol, bearing serial number L61L2293. According to ATF records, this Anderson

pistol was purchased by Individua1 B,   a   gun seller, on May l2,20l6.Individual B was

interviewed by law enforcement regardinghisftrer sale of the Anderson pistol. During

the interview, Individual B reported the following:

             a.    He/she previously purchased the Anderson pistol from the

Kentucky Gun Company in Bard.stown, Kentucky. Individual B told agents that

he/she later sold the firearm   in February 20L7 to an individual he/she met on the
Armslist website. Specifically, Individual B stated that he/she sold the Anderson

pistol on or about February L6,2OL7 ,in exchange for    $OSO.   Upon being shown a photo

affay that contained a photograph of HENDERSON, Individual B identified
HENDERSON as the individual who purchased the Anderson pistol from him/trer.

             b.    Individual    B further stated that, at the time of the 'sale,
HENDERSON was in the company of an unknown female and arrived to meet

Individual B in a white vehicle that Individual B believed was a Dodge Challenger.

Individual B provided law enforcement with a copy of email communication between



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himself/herself     and   HENDERSON,         who was using the email               address

reachme2morrow@gmail.com,22 in which HENDERSON inforrned Individual B that

he would be in a "white Challenger."

       69. The time to crime for the recovery of the Anderson pistol                   was

 approximately 41 days.

               Indiuidual C Straw Purchased Two Firearms for PHILLDS

      70. During the course of this investigation, law enforcement also
interviewed Individual C, a straw purchaser. As explained above, Individual A

identified Individual C as someone who purchased firearms for PHILLPS. Law

enforcement thereafter interviewed Individual C. Individual C reported the following

infor:nation to law enforcement:

               a.    In February    2011, he/she purchased two firearms from Gunz,

Inc., which is a gun store located in Louisville, Kentucky. Individual C provided law

enforcement    with receipts for the purchase of a    Zastava model PAP M92 PV, .762

caliber pistol, bearing serial number M92PV063135 (the "Zastava Pistol 1") and a

Zastavamodel PAP M92 PV, .762 caliber pistol, bearing serial number M92PV065663

(the "Zastava Pistol 2").ze



zz According   to Google records, reachme2morrow@gmail.com is subscribed to "Ttre Chosen
One." An examination of emails recovered from a search warrant confirmed Individual Ks
communication with reachme2morrow@gmail.com. However, an email, dated August 25,
2017 was sent from this email to "O'Hare towing." The email contained a copy of the
insurance card for Phillips Vehicle 1. This email came one day after PHILLIPS was arrested
by the Illinois State Police, who towed Phillips Yehicle 1 incident to the arrest.
23According to records obtained from Gunz, Inc., Individual C purchased the Zastava pistols
on January !7,2017 .



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              b.    Individual C stated that he/she purchased the firearms at the

direction of a male he/she knew as "JoJo." Law enforcement showed Individual C a

known photograph of PHILLPS and he/she identified the person in the photograph

as the person he/she knew as "JoJo." Specifically,    Individual C stated that PHILLPS

provided him/her    with $1,270 and told Individual C to purchase "big               guns."

PHILLPS drove Individual C to the gun store and waited for Individual C outside

the gun store. Law enforcement showed Individual C a stock photograph of a white

Dodge Challenger and Individual C stated that        it   looked similar to the vehicle that

PHILLPS was driving when they drove to the gun store.

              c.    Individual C stated that, after he/she purchased the firearms,

Individual C gave PHILLPS the firearms and PHILLPS paid Individual C                  $ZOO.

Individual C never saw the firearms again.

              d.    Individual C further stated that he/she believed that PHILLPS

was from the west side of Chicago and that PHILLPS was related to an individual

named "Chris." Individual C was subsequently shown a known photograph of

HENDERSON. Individual C identified the individual in the photograph as the

person he/she knows as "Chris."z4 Individual C stated that he/she, PHILLPS,

HENDERSON, and Individual A are all acquaintances.




2aDuring a later interview,law enforcement showed Individuai C separate photo arrays that
contained a photo of PHILLIPS and HENDERSON, respectively. Individual C identified
PHILLPS in the photo array as the person he/she knew as "JoJo." Individual C identified
HENDERSON in the photo array as the person he she knew as "Chris."



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       71.   According to Individual C's toll records, between December 22,2016 and

February 2L,2O17, there were approximately 30 incoming and outgoing calls between

Individual C's phone and Phillips Phone 2. Individual C's toll records further show

that, on or about January 17,2017 (the day the firearms were purchased), between

approximately 10:15 a.m. and 12:43 p.m., there were approximately two phone calls

between Individual C and Phillips Phone 2.

February 76, 2077 Purehase of Fireartn     by HENDERSON and          PHILLDS from
Ind.iaidual D in Kentuchy

      72. In summary, HENDERSON            and PHILLPS purchased a firear:n from

Individual D, a gun seller, on or about February 1612077, and that same firearm was

recovered in Chicago on or about May L7,2OL7 .

       73.   More specifically, or or about May 1-7, 20L7, CPD recovered a Taurus

model PT111 Millennium G2, 9mm pistol, bearing serial number TJIJ}4622.

Specifically, an anonJrnous caller reported a person with a gun      in   a vehicle. CPD

responded to the call, stopped the vehicle in the area of 951 N. Kedzie, on the west

side of Chicago and recovered a gun from the individual's vehicle.

       74.   The firearm that CPD recovered from the vehicle on North Kedzie was

originally purchased by Individual D in Kentucky. Law enforcement interviewed

Individual D, who provided the following information:

             a.    Individual D stated that he/she purchased a Taurus model      PTlll
Millennium G2, 9mm pistol, bearing serial number TJTlg4622, in November 20L6.

Individual D sold the firearm to an individual he/she met on Armslist in exchange for

$240. Law enforcement showed Individual D a photo array that contained a
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photograph of HENDERSON, and Individual             D identified HENDERSON as the
person who purchased his/her Taurus              firearm.   Specifically, HENDERSON

purchased the firearm from Individual D on February 16,2OL7.

               b.    Individual D stated that he/she believed that HENDERSON

arrived to the firearur deal in a white Dodge Challenger. Law enforcement showed

Individual D a photograph of Phillips Vehicle 1 and he/she identified it as the vehicle

HENDERSON drove to the deal. Individual D turther stated that HENDERSON

arrived in the company of a male whom Individual D did not view long enough to

identifu.

               c.    Individual D provided law enforcement with a handwritten

receipt signed by Individual D and HENDERSON, which documented the sale of the

firearm. Individual D stated that the sale took place near the St. Matthews Mall
located in Louisville, Kentucky.

       75.     Historical cell site records for Henderson Phone 1 shows that the phone

was utilizing a ceII tower near the St. Matthews MaIl in Louisville on or about

February 16,2017 at approximately at7:45 a.m. and 7:46 a.m. Records further show

that a      telephone number believed    to be used by PHILLIPS,         708-)OO(-279O

(hereinafter, "Phillips Phone 3")zs   *u.   utilizing a cell tower in the same area at

approximately 7:27 a.m. and 7:28 a.m.



25 Law enforcement identified PHILLIPS as the user of Phillips Phone 3 based on the
following: According to subscriber information provided by the service provider, PHILLPS
Phone 3 was subscribed to "John Phillips" at the Hillside Residence between February 15,
2017 andNovember 19, 2077.



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        76.    The time    to crime    for   the recovery of the Taurus model PTll1
MillenniumG2, gmm pistol, bearing serial number TJU94622 was approximately 90

days.

March L7, 2077 Purchase of Firearrn by HENDERSON and PHILLIPS f-rom
Indiuidual I in Kentuchy
        77.    In summary, otr or about March LT,2OIT,HENDERSON and PHILLPS

purchased a firearm from Individual          I, a gun seller, and that same firearm was
recovered in Chicago on or about May 6, 2017.

        78.    Specifically, on or about May 6, 2OLI,CPD recovered a Taurus model

PTL1l Millennium G2, 9mm pistol, bearing serial number TJP7L429, during                    a

narcotics investigation   in Chicago. CPD officers approached the vehicle and seized
the firearm.

        79.    According to ATF records, the original purchaser of this firearm was

Individual I, a Kentucky resident. Law enforcement interrriewed Individual I, who

provided the following information:

               a.    Individual   I   stated that he/she sold a Taurus model PT111

Millennium G2, 9mm pistol, bearing serial number TJP7L429, to an individual that

he/she met on Armslist in exchange for $300. Law enforcement showed Individual             I
a photo affay that contained a photograph of HENDERSON, and Individual I
identified HENDERSON as the person who purchased the firearm.

               b.    Individual I further stated that he/she had a written receipt for

this sale dated March L6,201-7. According to the receipt, HENDERSON provided the

name "Christian Banks" to Individual          I.    Based on my training and experience,   I


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believe that HENDERSON used an alias name of "Christian Banks" to disguise his

true identity.

                 c.   Although Individual I could not recall the make or model of the

vehicle that HENDERSON used for the deal, Individual        l   described   it   as a white, late

model American "muscle car."

                 d.   Individual   I   stated the sale took place near 1155 Buck Creek

Road, Simpsonville, Kentucky.

        80.   According to the phone records of Individual        I, there were two phone
calls, on or about March 16,20!7, between Individual      I and Henderson Pinger 6682.
Historical cell site records also show that Henderson Phone 1 utilized a tower near

the location of the sale, on or about March 16, 20L7, at approximately 11:58 a.ffi.,

11:59 4.D., and 1"2:00 p.m. Additionally, historical cell site records for Phillips Phone

3 show the phone utilized a cell tower near the location of the sale, on or about March

16.,2017, at approximately, 11:53 a.m. and 11:55 a.m.

        81. The time to crime for the recovery of the Taurus model PT111
Millennium G2, 9mm pistol, bearing serial number TJP7tAzfl was approximately 51

days.

May 2L, 20L7 Purchase of Firearm by HENDERSON and. PHILLIPS from
Indiaidual K in Kentuchy
        82. In summary, HENDERSON              and PHILLPS purchased. a firearm from

Individual K, a gun seller, in Kentucky on or about May 2L, 2017, and that same

fi.rearm was recovered in Chicago on or about June 22,2017.




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       83.     On or about June 22, 20L7, CPD recovered a Walther, Creed, 9mm

pistol, bearing serial number FCH9601. The firearm was recovered from a stolen

vehicle after police initiated a traffi.c stop on the vehicle near the 2600 block of west

Thomas in Chicago.

       84.     According to ATF records, the original purchaser of this firearm was

Individual K, a Kentucky resident. Law enforcement interrriewed Individual K, who

provided the following information:

               a.     Individual K stated that, on or about May 21, 2017 , he/she sold

the Walther, Creed,   9   millimeter pistol, bearing serial numberFcH9601 and a second

firearm, a M&P Shield, 9 millimeter pistol, to an individual that he/she met on the

Armslist website.

               b.     Before the deal, Individual K communicated with the user of the

email address therichgates@gmail.com.26 Specifically, on or about May 1-9, 2017,

Individual     K   received   an email from      therichgates@gmail.com.   The user of
therichgates@gmail.com was responding         to an advertisement that Individual K
posted on Armslist regarding the sale of his "M and P Shield 9mm." According to the

email correspondence that Individual K provided to law enforcement, the user of




ze According  to Google records, therichgates@gmail.com is subscribed to "Kobe Bryant."
However, law enforcement believes HENDERSON was the user of therichgates@gmail.com
email address, because as noted below, HENDERSON provided Individual Kwith Henderson
Pinger 6682 as his contact number. Additionally, historical cell site records place
HENDERSON PHONE 1 in the area near the occurrence of the firearms sale involving
Individual K from May 21,20L7.



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therichgates@gmail.com stated, 'T'll buy both," referring to the M&P pistol and the

Walther, Creed pistol.

               c.       Individual K stated that he/she met the purchaser at a Walmart

store parking lot located in Frankfort, Kentucky, and sold both firearrns for $0S0.

Individual K described the purchaser of the firearms as a black male with dread locks

and a stocky build. Law enforcement showed Individual K a photo array that

contained a photograph of HENDERSON. After viewing the photo array,Individual

K stated that      he/she was ninety-five percent certain       that HENDERSON was the
individual who purchased the fi.rearms. Individual K further stated that, prior to the

deal, he/she also communicated with the purchaser over the telephone

         85.   According to toll records for Henderson Pinger 6682, there were five

phone calls between Individual          K and Henderson Pinger 6682 on May 2L, 2017.
Individual     K   provided Henderson Pinger 6682 as the telephone number the

purchaser gave Individual K. Historical cell site records show that Henderson Phone

1   utilized a cell tower near the location of the firearm sale, on or about May 2L,2Ot7,

at approximately     7:1"0   p.m. Furthermore, historical cell site records show that Phillips

Phone 3 was also utilizing a cell tower in the area of the sale, on or about May 2L,

2017, at approximately 7:25 p.m.

        86.    The time to crime for the recovery of the Walther, Creed, 9mm pistol,

bearing serial number FCH9601, was approximately             31-   days.




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May 28, 20L7 Purchase of Firearm by HENDERSON fro* Ind.iuid.ual E in
Kentuchy

       87. In summary, on or about May 28, 2017, HENDERSON                purchased a

firearm from Individual E, a gun seller, in Kentucky, and the firearm was later

recovered in Chicago on or about June 10,20t7.

       88.     Specifically, on or about June iIO,2Ol7 ,CPD received an anon5rmous tip

about a gun in a gangway on the west side of Chicago. CPD officers responded to the

scene and r'ecovered a Taurus model PT11-1 Millennium G2, 9mm pistol, bearing

serial number TJX3L916. According to ATF records, Individual E, a Kentucky

resident, originally purchased the firearm in Kentucky.

      89.      Law enforcement interviewed Individual E, who provided the following

information:

                     Individual E stated that, on or about May 28, 20t7, he/she sold a

Taurus model PT111 Millenniurn G2,9mm pistol, bearing serial number TJX319L6

to an individual named "Chris Hendridge" for   $ZZO.

               b.    Individual E provided the following contact number for "Chris

Hendridge": 502-X)O(-6682, that is, Henderson Pinger 6682.

               c.    Law enforcement showed Individual E a photo array of
HENDERSON. After viewing the photo array,Individual E was not able to make a

positive identification. Individual E stated that his identification rested between two

photographs; one was of HENDERSON and the other was a photograph of a filler.

               d.    Individual E provided law enforcement with a copy of the written

receipt from the deal. According to the receipt, "Chris Hendridge" provided a



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Kentucky driver's license to Individual E with driver's license number "H13-370-573."

A search of Kentucky driver's license database revealed no records for that driver's

license number.

             e.     Individual E stated that "Chris Hendridge" drove a white Dodge

Challenger. Upon being a shown a photograph of Philtips Vehicle L, Individual E

identified it as the vehicle "Chris Hendridge" drove. Individual E further stated that

he/she had previously sold "Chris Hendridge" a Sig Sauer SP2O22 pistol bearing

serial number 248241402,      ort   or about May 21,2017.

             f.     Individual E stated the May 2L,2OL7 sale took place in the area

of 7101 Cedar Springs Boulevard, Louisville, Kentucky, and the May 28,2017 sale

took place in the area of   tzltlTaylorsville     Road Louisville, Kentucky.

             g.     Based     on my training and            experience,   I believe   that

HENDERSON provided a false driver's license number and an alias name of "Chris

Hendridge" to disguise his true identity.

       90.   Historical cell site records for Henderson Phone 1 shows that the phone

utilized a cell tower near the location of the sale of the Taurus fi.rearm, on or about

May 27,20L7, at approximately L2:39 p.m. and l2:41p.m. Records for Phillips Phone

3 also show the phone in Kentucky'at the time of the sale. Additionally, historical cell

site records for Henderson Phone 1 shows the phone utilized a cell tower near the

location of the sale of the Sig Sauer pistol, on or about May 28, 2017, at approximately

10:16 a.m. Records for Phillips Phone 3 show the phone         in Kentucky at the time of

the sale.




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         91. The time to crime for the recovery of the Taurus model PTl11
 Millennium G2, 9mm pistol, bearing serial number TJXSL9l-6 was approximately       14

 days.

May 27, 2077 Purcha,se of Firearrn by HENDERSON from Indioidual GG in
Kentuehy

         92.   On or about May 27,     20L7   , HENDERSON purchased a firearm from

Individual GG, a gun seller, in Kentucky, and that same firearrn was later recovered

in Chicago on or about August 20,20L7.

         93.   On August 20,2017, CPD recovered a Taurus, PT111 Millennium G2,

9mm pistol with serial number TJ289203. The firearm was recovered after an

individual pointed the fi.rearm at someone on the street during a verbal argument.

The offender was arrested and the firearm was taken into CPD custody and

inventoried. ATF records indicate the Taurus, PT1L1 Millennium G2, 9mm pistol

with serial number TJZ8}2O3, was purchased in Kentucky by Individual       GG.

         94. Law      enforcement interviewed Individual GG, who provided the

following informati   on   :



               a.      Individual GG stated that he/she purchased a Taurus, PTLLl

Millennium G2, 9mm pistol with serial number TJ289203, in Kentucky, but later sold

it to an individual   he/she met on Armslist for $250.

               b.      Individual GG met the buyer sometime in the mid-afternoon, near

5001 Mud Lane in Louisville, Kentucky. Individual GG stated that the buyer arrived

at the deal in a white Dodge Charger or Challenger, and the buyer was a passenger

in the vehicle.



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              c.     Individuat GG provided law enforcement with a copy of the

receipt for the sale of the firearrn. According to the receipt, the sale date was May

27,20L7   . Individual   GG stated the buyer filled out the receipt and provided the name

of "Christian Hendridge." Additionally, there is a witness section on the receipt.

According to Individual GG, "Christian Hendridge" walked over to the vehicle he

arrived in and had the driver of the vehicle sign that section. According to the receipt,

the driver signed his name as "Jason Phillips." Law enforcement showed Individual

GG a photo amaythat contained a photograph of HENDERSON, however, Individual

GG state that he/she was uncertain and that his/her decision rested behueen hro

photos. One photo was of HENDERSON and the other was of a filler photo. Individual

GG stated that he/she did not get a good look at the driver and was unable to provide

any identifiers for the    driver. Individual    GG was also shown a picture of Phillips

Vehicle 1 and Individual GG indicated the pictured vehicle was similar to the vehicle

the buyer used for the deal.

              d.     Individual GG provided law enforcement with            a   telephone

number that he/she used to communicate with the buyer, 502-)00(-4898 (hereinafter,




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"HendersonlPhillips      Pinger     4898"1.2t    Individual GG also             identified

reachme2morrow@gmail.com as a conta.t                that he/she had for the buyer.28
                                             "-ail
        95.   Records for Henderson Phone L show the phone utilized a cell tower near

the location of the firearni sale with Individual GG, on or about May 27, 20L7, at

approximately t2:22 p.m. and 12:30 p.m. Similarly, records for Phillips Phone 3 show

that phone utilized a cell tower near the firearm sale, on or about May 27,2017, at

approximately LL:49 a.m. and 12:11 p.m.

        96.   The time to crime for the Taurus, PT111 Millennium G2, 9mm pistol

with serial number TJ289203, was approximately 86 days.

     FIREARMS RECOVERED DURING TRAFFIC STOPS OF HENDERSON AND
                             PHILLIPS

        97.   During the course of the investigation, between October 201-6 and

August 2017, law enforcement conducted. traffic stops of HENDERSON and
PHILLPS, and recovered firearms from insid.e their vehicles. ATF records show that

the frrearms were originally purchased in Kentucky.




27 Law     enforcement believes that HENDERSON and./or PHILLPS is the user of
HendersonlPhillips Pinger 4898 based on the following: According to records obtained from
Pinger, the telephone number associated with Henderson/Phillips Pinger 4898 was created
using the telephone number for Phillips Phone 1. Specifically, on or about September 13,
2076, Phillips Phone l was used to register Henderson/Phillips Pinger 4898 with Pinger.
28As set forth in paragraph 62 and footnote 22,this email address was used to communicate
with Individual B regarding purchasing a firearm. Individual B identified HENDERSON as
the person who purchased the firearm.



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Law Enforcem.ent Reeouered, A Firearm. From             Hid.d.en. Compartrnent Insid.e
HENDERSOMs Vehicle On October 77,2016

         98. On or     about October 11, 20L6, ofiicers from the Cicero Police

Department conducted a traffic stop of HENDERSON's vehicle after observing traffic

violations in Cicero, Illinois. A check of HENDERSON'S Illinois driver's license

revealed HENDERSON had a suspended license. During an inventory search of

HENDERSON'S vehicle, a 2008 Silver Mercedes C-CIass sedan, bearing Illinois

registration "Q336093 (hereinafter, "Henderson Vehicle L"),zs 1u* enforcement

discovered a Glock, 23, .40 caliber pistol, bearing serial number ZBH.639, hidden in a

compartment located     in the   passenger floor area of the vehicle. Additionally, law

enforcement recovered assorted rounds of ammunition, assorted magazines, and

$1,439   in cash. HENDERSON was charged with the state offense of aggravated
unlawful use of a weapon, and that case is currently pending.

       99.    Following his arrest, HENDERSON provided a signed waiver of his

Miranda rights and gave a written statement detailing his possession of the firearm

and explaining how he purchased the fi.rearrn in Kentucky. During the interview,

HENDERSON stated:

              a.     He purchased the Glock pistol for         $ZOO   at a gun show in
Lexington, Kentucky a few months prior to his arrest;




2eAccording to Illinois Secretary of State Records, Henderson Vehicle 1 was registered to
Christopher Jamel Henderson at a residence on the 900 block of N. Central Park Avenue,
Chicago, Illinois at the time of this arrest. HENDERSON's driver's license records list his
last known address at the same address.



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              b.      He kept the Glock pistol for personal protection and stored the

firearm under the front passenger floor mat of his vehicle (Henderson Vehicle 1); and

                      The additional ammunition and assorted magazines recovered

from the vehicle belonged to him.

       1"00. ATF records indicate the Glock 23, .40 caliber pistol, with serial number

ZBIJ639, was originally purchased in 2015 in Louisville, Kentucky by Individual V.

Individual V is a Kentucky resident. According to Individual V, he/she sold the

firearrrr to a gun store. Law enforcement obtained records from the gun store and

learned that they sold the gun to Individual        W.     Law enforcement interwiewed

Individual   W,    a gun seller, who reported that he/she sold the gun to an unknown

individual without a bill of sale.

Law Enforcement Recoaered Firearm from PHILLDS'Vehicle On July                            9,
2017

       101. fn summary, on or about July 9, 20L7, CPD officers          conducted a traffic

stop of Phillips Vehicle 1 and recovered a firearm whose parts contained two serial

numbers. HENDERSON was identified by Kentucky residents as the individual who

purchased firearms bearing the same serial numbers as the          firearn   recovered from

inside Phillips Vehicle   1.

       lO2.   Specifically, on or about July 9, 20L7, CPD officers were responding to a

call of shots fired in the area of 60443 S. Throop when officers observed Phillips

Vehicle 1 commit several traffi.c violations. Offi.cers initiated atraffi,c stop of Phillips

Vehicle 1. Officers ran a name check of PHILLIPS and the other occupant in the

vehicle, Individual PP, and learned that Individual PP had an outstanding warrant.



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Individual PP was placed under arrest. During a custodial search of Individual PP's

person, officers recovered a grey metal magazine with three .32 caliber rounds inside

his left pocket. PHILLPS was then asked to exit the vehicle. During a search of the

vehicle, officers recovered a plastic bag containing .40 caliber and 9mm rounds of

ammunition from inside the center console. PHILLPS was then placed under arrest.

Officers also recovered two firearms from Phillips Vehicle     1.    The fireanns were

located inside of the glovebox, which was locked. One of the recovered firearms was a

Glock pistol with two separate serial numbers. The frame of the Glock had the serial

number ABXPS91 and the slide/barrel of the Glock had the serial number BBF Y989.

Based on my training and experience, and my knowledge of this investigation and

others,   it   appears   that the firearm was modified to incorporate paris from two
separate guns. PHILLPS was charged with the state offense of being a felon in

possession of a firearm, and that case is currently pending.

      103. The serial number on the frame returned to a Glock model 19, 9mm
pistol, bearing serial number ABXP891. The serial number on the slide/barrel

returned to a Glock model 23, .40 caliber pistol, bearing serial number BBFY989.

Both serial mrmbers were traced to separate gun sellers located in Kentucky:

Individual F and Individual G. In addition, according to an ATF interstate nexus

expert, both firearms were manufactured outside of the State of Illinois.

       LO4. First, Individual F was identified as the original purchaser of the Glock

model L9, 9mm pistol, bearing serial number ABXP891. Law enforcement
interviewed Individual F, who provided the following inforrnation:




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              a.    Individual F stated the sale occurred in Louisville, Kentucky, at

ll80L fnterchange Drive, sometime between       3:00 p.m. and 4:30 p.m. on July 6, 2017.

              b.    Individual F stated that, on or about July 6, 2}ll,Individual F

sold the Glock model 19, 9mm pistol, bearing serial number ABXP891, to an

individual he/she met on Armslist. Individual F viewed a photo array that contained

a photograph of HENDERSON and identified HENDERSON as the person who

purchased the firearm.

              c.    Individual F stated that HENDERSON arrived to the sale in           a

white Dodge Challenger and paid $450 in cash for the Glock. After being shown a

photograph of Phillips Vehicle 1, Individual F stated      it   appeared to be the same

vehicle HENDERSON was driving.

              d.    According to Individual F, during the meeting, HENDERSON

asked Individual   F if   he/she had any additional guns for sale. Individual     F told
HENDERSON he/she had more expensive firearms for sale, but HENDERSON did

not purchase additional firearms from Individual F.

       105.   Records for Henderson Phone 1 show       that phone utilized. a cell tower

near the location of the sale with Individual F, on or about JuIy 6, 2017, at

approximately 4:23 p.m. and 4:29 p.m. Similarly, records for Phillips Phone 3 show

that phone utilized a cell tower near the location of the sale, on or about July 6, 2O!7,

at 4:26 p.m. and 4:36 p.m.

      106. The time to crime for the Glock model        19, 9mm pistol, bearing serial

number ABXP891, was approximately 3 days.




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       107.   Second,   Individual   G was   identified as the original purchaser of a Glock

model 23, .40 caliber pistol, bearing serial number BBFY989. Law enforcement

interviewed Individual G, who provided the following information:

              a.    Individual G stated that, on or about May 6, 20L7, he/she sold a

Glock model 23, .40 caliber pistol, bearing serial number BBFY989, to an individual

he/she met on Armslist, and the sale took place near Midway, Kentucky. Individual

G viewed a photo uuray     that contained a photograph of HENDERSON and identifred

HENDERSON as the person who purchased the              fiream. HENDERSON paid          $500

in cash for the firearm.

              b.    Individual G stated that HENDERSON arrived to the sale in a

white Dodge Challenger. Individual G provided law enforcement with a copy of text

communications between himself/herself                and HENDERSON, in              which

IIENDERSON stated that he would be driving a "white Challenger." In addition,

according to the text messages, the sale was planned for some time after 6:00 p.m.

The telephone number that Individual G used to communicate with HENDERSON

was 502-)00(-4898, that is, Henderson/Phillips Pinger 4898.

       108.   Records for Henderson Phone l- show that the phone utilized a cell tower

in Midway, Kentucky, on or about May 6, 20t7, at approximately 6:29 p.m., 6:34 p.m.,

and 6:35 p.m. Similarly, records for Phillips Phone 3 show that phone utilized a cell

towerin Midway, Kentucky, on or about May 6, 2Ot7,at approximately 6:27 p.m. and

6:29 p.m.




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       109. The time to crime for the Glock model 23, .40 calibbr pistol, bearing
serial number BBFY989, was approximately 63 days.

Following a Trip to Kentuchy, Law Enforcement Recoaered Two Firearrns
from PHILLDS'Vehicle On August 24, 20L7
       110. On or about August 22,20L1, at approximately        5:00 p.m., information

from the court-authorized tracking device on PHILLIPS' vehicle revealed that
PHILLPS'vehicle was traveling south from Chicago. s0 Tracker information further

revealed that the vehicle made two brief stops in Hebron, Indiana, and Edinburgh,

Indiana, before arriving in Louisville, Kentucky, later that evening.

       l-l-1. Law enforcement   obtained surveillance video footage from a gas station

located   in Hebron, fndiana. The surveillance video showed that PHILLIPS'vehicle

amived at the gas station accompanied by red Nissan Sentra. Law enforcement

identified PHILLPS as the driver of his 20LG Dodge Challenger, and HENDERSON

as the passenger in the red Nissan Sentra. PHILLPS and HENDERSON were in

the company of two unidentified black females. A short while later, the          Dodge

Challenger and the Nissan Sentra exited the gas station in tandem.

       tlz.   On or about August 24, 2017, ATF agents conducted surveillance of

PHILLPS'vehicle in Louisville, Kentucky. Specifically, at the time surveillance was

initiated at approximately 7:00 a.m., PHILLPS' Dodge Challenger was parked in the

parking lot of a hospital located in Louisville. At approximately 10:32 a.m., agents

observed PHILLIPS exit the hospital and walk towards his Dodge Challenger. Upon


30 On August LO, 20L7, Chief Judge Rub6n Castillo signed an order authorizing the
installation of a vehicle tracking device on Phillips Vehicle 1 for a period of 45 days.



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arriving at the Dodge Challenger, agents observed PHILLPS open the passenger

door of the vehicle while looking around the area.       At approximately L0:34 f.il.,
agents observed a gray Chevrolet Impala enter the hospital parking lot and park in

front of the Dodge Challenger. Agents further observed an unidentified male exited

the Chevrolet Impala and approached PHILLIPS. Agents then observed PHILLPS

remove something from the Dodge Challenger and place      it in the front passenger seat

of the   Impala. PHILLPS returned to his vehicle and sat in the front passenger seat

of the Dodge Challenger for a few minutes before exiting the Challenger and    walking

back into the hospital. Meanwhile, the unidentified male scanned the parking lot

before returning to the Impala and departing the scene.

         113. On or about August 24, 2017, at approximately 5:00 p.D., Iaw
enforcement learned that PHILLPS' Dodge Challenger was driving north towards

Illinois. After observing the driver of Phillips Vehicle 1 commit        several traffic

violations, law enforcement initiated a traffic stop of Phillips Vehicle f. in Hillside,

Illinois. During the traffic   stop, law enforcement identified PHILLIPS as the driver

of the vehicle; the only other occupant inside the vehicle was an infant in the back

seat. Law enforcement observed that PHILLPS'demeanor was nervous, as he was

breathing heavily and trembling. Law enforcement further observed that PHILLPS

was using his iPhone to communicate with someone over the "FaceTime" application.

Law enforcement ordered PHILLPS to exit the vehicle, and PHILLPS rbfused.

PHILLPS repeatedly related his location to the individual that he                   was

communicating with over FaceTime. Eventually, PHILLPS exited the vehicle, and,




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at that point, an individual later identified as PHILLIPS' brother, Individual     CP,

arrived on scene.

       1.14. After PHILLPS exited his vehicle, a certified narcotics canine was

brought to the scene. The canine indicated positive to the odor of narcotics. After the

canine made the positive indication near the drivey's door crease and handle, law

enforcement observed PHILLIPS become more agitated. Law enforcement then

conducted a search of Phillips Vehicle 1 and located a duffel bag       in the trunk.
Individual CP told law enforcement that the bag belonged to him. Inside of the duffel

bag were the following items: (1) a Glock model 22, .Aoca1iber firearm, bearing serial

number FlFjZ363;(2) a Glock model 26, 9-millimeter firearrn, bearing serial number

UCY868; (3) multiple magazines; (4) associated ammunition; and (5) fifty $tOO bitts

for a total of $5,000. According to ATF records, the two Glock firearms recovered from

Phillips Vehicle L were originally purchased in Kentucky.

       115. PHILLPS and Individual CP were arrested and transported to the
Hillside Police Department. Following his arrest, law enforcement inventoried and

towed Individual CP's vehicle. During the inventory search of the vehicle, law

enforcement recovered a loaded Glock model 27, .40 caliber firearrr, bearing serial

number AAIitH542, from the glove box.       In   addition, law enforcement recovered

ammunition from the trunk of Individual CP's vehicle. According to ATF records, the

Glock recovered from Individual CP's vehicle was originally purchased by Individual

X, a gun seller, in Kentucky.




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       116. Law       enforcement interviewed Individual X, who provided the following

inforr-nation:

                 a.    Individual X stated that, on or about June 20, 20L5, he/she

purchased the Glock model 27, .40 caliber firearm, bearing serial nu;nber AAIirH542

from Academy Sports located at 490L Outer Loop Suite, Louisville, Kentucky.

                 b.    Individual   X   stated that, on or about February 26, 2017,

Individual F sold the Glock model 27, .40 caliber firearm, bearing serial number

AAFH542 to Individual OO, a Kentucky resident, for $400.

                 c.    Individual X stated that he/she and Individual OO arranged the

sale of the firearm through Facebook communications. Individual X provided the

telephone number ending in 8869 as being the number he/she used to communicate

with Individual OO.

       tL7. Law enforcement         also interviewed Individual OO, who stated that

he/she had no recollection of purchasing the Glock model 27, .40 caliber firearm,

bearing serial number AAFH542 from Individual X. During the interview, Individual

OO was served a Warning Notice of Unlicensed Firearms Dealing           in Violation of
Federal Law, commonly referred to as a Cease and Desist letter.

                         PHILLIP S' Prior Felony Conoic,tions

       118. According to certified      copies of convictions obtained from the Circuit

Court of Cook County, PHILLPS has been convicted of the following felony offenses

prior to August 24,2077,both of which were punishable by a term of imprisonment

exceeding one year: (1) on or aboutAugust 2L,IOLA,PHILLPS was convicted of felon




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in possession of a firearm and sentenced to 3 years'imprisonment; and (2) on or about

November t9,2073, PHILLIPS was convicted of aggravated battery/use of a deadly

weapon and sentenced to 30 months'probation.

  Interstate nexus of Firearrrs Possessed by PHILUPS on August 24, 2077

          119.   On or about August 24,20L7, an ATF firearms interstate nexus expert

physically inspected each firearm purchased and seized by ATF from PHILLIPS on

August 24,20L7,and determined that none of the firearms were manufactured in the

State of Illinois.

  Neither PHILLIPS, HENDERSON nor WRIGHT hold a Federal Firearrns
                                            Lieense

          L2O. A Federal Firearms License (FFL) is a license in the United States that

enables an individual         or a company to    engage   in a business pertaining to the
manufacture or importation of fi.rearms and ammunition, or the interstate and

intrastate sale of firearms. Review of a law enforcement database revealed that

PHILLPS, IIENDERSON and WRIGHT were not, at all times relevant here, and

never have been, federally licensed to import, manufacture, deal, or engage in the

business of d,ealing in firearms.

          1-.21-. To   date,law enforcement has recovered approximately 80 to 90 fi.rearms

in and around the Chicago area that are believed to be purchased by HENDERSON

and./or   PHILLPS in Kentucky.




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       L22.   Based upon the above information, there is probable cause to believe

that HENDERSON, PHILLIPS, and WRIGHT willfirlly engaged in the business of

dealing in firearms without being licensed fireams dealers, in violation of 18 U.S.C.

$ 922(aX1XA); and that PHILLIPS,         a convicted   felon, unlawfirlly possessed a firearm,

in violation of 18 U.S.C. $ 922(g)(1).




                                            Bureau      of Alcohol,   Tobacco, Firearms &
                                            Explosives


SUBSCRIBED AND SWORN to before me on May 9, 2018.


\AI*t)*rt/
  V/J.,DFjZ---\-
MARrA
United States Magistrate Judge




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